       Case 3:14-cv-02346-JCS Document 416 Filed 03/04/19 Page 1 of 2



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11

12                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
13                                  SAN FRANCISCO DIVISION
14   DAVID AND NATASHA WIT, et al.,             Case No. 3:14-CV-02346-JCS
15                      Plaintiffs,             NOTICE REGARDING REDACTIONS TO
16                                              FINDINGS OF FACT AND
            v.                                  CONCLUSIONS OF LAW
17   UNITED BEHAVIORAL HEALTH,
                                                Date:      March 4, 2019
18                      Defendant.
                                                Judge:     Hon. Joseph C. Spero
19                                              Courtroom: G
20

21
     GARY ALEXANDER, et al.,                    Case No. 3:14-CV-05337-JCS
22
                        Plaintiffs,
23
            v.
24
     UNITED BEHAVIORAL HEALTH,
25
                        Defendant.
26

27

28                                                                            NOTICE RE: REDACTIONS
                                                          CASE NOS. 3:14-CV-02346-JCS, 3:14-CV-05337-JCS



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       Case 3:14-cv-02346-JCS Document 416 Filed 03/04/19 Page 2 of 2



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 2          Pursuant to the Court’s February 28, 2019 Order to File Under Seal (Dkt. No. 414 in Case
 3   No. 14-2346 and Dkt. No. 326 in Case No. 14-5337), Plaintiffs hereby notify the Court that
 4
     Plaintiffs propose no redactions to the Court’s Findings of Fact and Conclusions of Law, filed
 5
     under seal on February 28, 2019 (Dkt. No. 413 in Case No. 14-2346 and Dkt. No. 325 in Case
 6
     No. 14-5337). It is Plaintiffs’ understanding that the Court is not, at this time, revisiting its prior
 7

 8   orders with respect to sealing of Trial Exhibits, and that any Trial Exhibits previously sealed by

 9   the Court – particularly those containing class members’ personal health information and/or

10   personally identifying information – remain sealed even if referenced or quoted in the Findings of
11   Fact and Conclusions of Law.
12
     Dated: March 4, 2019                           ZUCKERMAN SPAEDER LLP
13

14                                                  /s/ Caroline E. Reynolds
                                                    D. Brian Hufford
15                                                  Jason S. Cowart
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18                                                  PSYCH-APPEAL, INC.
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                                                    Attorneys for Plaintiffs and the Plaintiff Class
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                                                      -1-                               NOTICE RE: REDACTIONS
                                                                    CASE NOS. 3:14-CV-02346-JCS, 3:14-CV-05337-JCS

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